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                                                                                             VIA CM/ECF



                                                                            November 2, 2020

           U.S. District Judge Mary Kay Vyskocil
           United States District Court
           Southern District of New York
           500 Pearl Street
           New York, New York 10007

           Re:     Mercer v. YMCA of Greater Boston, Inc., Case No.: 1:20-cv-6038-MKV

           Dear District Judge Vyskocil:

                  Please be advised that this office represents the Plaintiff Stacey Mercer (“Plaintiff”) in
           connection with the above-referenced action. As previously reported, the above referenced action
           has been settled. A settlement agreement has been drafted and is being reviewed by the parties for
           execution, which the parties anticipate will take place within the next thirty (30) days. Respectfully,
           we are requesting together with counsel for the defendant a stay of all deadlines and conferences, for
           an additional thirty (30) days so that the parties can finalize the settlement.

                   We thank this Honorable Court for its time and consideration in this matter.

The parties' request to extend the deadline to restore this                 Respectfully submitted,
action to the Court's calendar for an additional 30 days until
December 2, 2020, is HEREBY GRANTED.                                        BASHIAN & PAPANTONIOU, P.C.

SO ORDERED.                                                                 /s/ Erik M. Bashian
                                                                            ________________________
       11/2/2020
                                                                            Erik M. Bashian, Esq.



           cc:     Michael D. DeMeola, Esq. (via CM/ECF)




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